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 8                        UNITED STATES DISTRICT COURT

 9                       EASTERN DISTRICT OF CALIFORNIA

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12   UNITED STATES OF AMERICA,               No. 2:09-cr-0380 WBS
13                  Plaintiff,                   2:13-cv-2498 WBS
14        v.                                 Court of Appeals No. 14-1526
15   VALENTIN RAMIREZ-CARDINEZ,              ORDER DENYING CERTIFICATE OF
                                             APPEALABILITY
16                  Defendant.

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18                                ----oo0oo----

19             Defendant Valentin Ramirez-Cardinez has filed a notice

20   of appeal from this court’s Order filed April 1, 2004 (Docket No.

21   271) denying his motion to vacate, set aside or correct his

22   sentence under 28 U.S.C. § 2255.        For the reasons set forth in

23   the aforesaid Order, this court declines to issue a certificate

24   of appealability pursuant to 28 U.S.C. § 2253(c).

25             First, defendant’s motion barred by the statute of

26   limitations.    Second, as a part of his written plea agreement

27   defendant waived any right he may have had to bring a post-

28   conviction attack on his conviction or sentence, and
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      Case 2:09-cr-00380-WBS Document 276 Filed 05/20/14 Page 2 of 2


 1   “specifically agree[d] not to file a motion under 28 U.S.C § 2255

 2   or § 2241 attacking either his conviction or his sentence.

 3   Third, defendant’s motion lacks merit because the Supreme Court’s

 4   decision in Alleyne v. United States, 133 S.Ct. 2151 (2013) has

 5   no application to this case.      Defendant’s additional claims

 6   regarding the constitutionality of the sentencing guidelines and

 7   the appropriateness of his sentence are similarly meritless.

 8              IT IS SO ORDERED.     The Clerk of this Court shall

 9   transmit a copy of this Order to the Clerk of the United States

10   Court of Appeals for the Ninth Circuit.

11   Dated:   May 20, 2014

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